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Attorney for AMERICAN DEBT SERVICES
and QUALITY SUPPORT SERVICES

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

HEATHER L. NEWTON, individually and on ) Case No.: 3:1 [-cv-03228 EMC

behalf of others similarly situated,

v5,

AMERICAN DEBT SERVICES, et al,

Plaintiff,

Defendants.

DECLARATION OF ERIC GRAZIANO IN
SUPPORT OF DEFENDANTS AMERICAN
DEBT SERVICES, INC.’S AND QUALITY
SUPPORT SERVICES, LLC’S REPLY
PLAINTIFF’S OPPOSITION TO MOTION
TO COMPEL ARBITRATION.

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I, Eric Graziano, declare and state as follows:

1.

I, Eric Graziano, am the President of American Debt Services, Inc. (“ADS”). As

part of my responsibilities, | have direct personal knowledge of ADS’s busincss operations

and procedures. I also have personal knowledge of the facts stated herein or through a review

or records over which | have care, custody and control. This Declaration is made in support of

ADS’s and Quality Support Services, LLC’s (“QSS”) Reply to Plaintiffs Opposition to

Motion to Compel Arbitration.

DECLARATION OF ERIC GRAZIANO — 3:11-ev-03228-EMC

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ef YM FY NS Fe SC Be we RAKE DH mS

- ADS status as an active corporation within California was recently suspended.
. ADS was delinquent in fil ing certain documents with the Franchise Tax Board (“FTB”),

- ADS has completed and filed all documents with the FTB necessary to be reinstated as an

active corporation

within the State of California.

. On or about August 24, 2009, Plaintiff Heather Newton and ADS executed a Debt Settlement

Agreement (the “Agreement”). A true and correct copy of this Agreement is attached hereto

as Exhibit A.

- ADS uses DocuSign to effectuate contracts between clients and ADS.

. ADS uses DocuSign because a DocuSign si gnature is a valid and enforceable electronic

signature.

. The foregoing facts are known by me to be true, of my own personal knowledge. I am

competent to testify to such acts, and would so testify if] appeared in court as a witness at the

trial of this claim.

Pursuant to 28 (J.8.C. § 1746, I declare under penalty of perjury and of the laws of the United

States that the foregoing is true and correct.

DATED: January VY, 2012

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by raves” oe

Fric Garziano

DECLARATION OF ERIC GRAZIANO — 3:1 1L-cv-03228-EMC
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CERTIFICATE OF SERVICE

I hereby certify that on this 17 day of January, 2012, I electronically filed the foregoing
document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being
served this day on all counsel of record or pro se parties in the manner specified, either via
transmission of Notices of Electronic Filing generated by CM/ECE or in some other authorized
manner for those counsel or parties who are not authorized to receive electronically Notices of

Electronic Filing.

/s/ Andrea Daub
Andrea Daub

DECLARATION OF ERIC GRAZIANO — 3:11-cy-03228-EMC
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EXHIBIT “A”
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American Debt Services.

Thi Debt Seitiement Agreement’) 8 aie hig’ Agi 24, 2009 between American Debt Services, LLC, 900-5, Haroon

Aven Campbell, CA. 95008: (988-827-2250), ond Heather L. Newton (Client)... This.coutract shalt

On acenptanie of CHent into tha programm, American Dobt Servions sill provide 5 “Weloome Paki" a Schedule of Proj ye
Schedule, » Pand Teariefer Schedule, Account Agreement snd Disstoxare Statement, alongs with farther tena etorterenn

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{c)_ Client will provide s written list af all unaceured debts thut be oF the warite American Deht Servicer (o énttle aud/or restruetnre, Americas

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(the “Program Debt"), A Schuifnle ar Program Debt ta tacorparated Into this cyotect by reference, This Schedule will contain the name of the

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{b)  Ctheet will not refinance amy veal or parscnal property, except toe the sole parpars of loserieg interest rate or abrtalntay fends to cattle &
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4.  Settionient Procets, ACiath take American Dobe Services has reecired the Qeyt payment directed toward the settlement of Program Det,
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approval of Cent, wito has sbyelate dharction to aceept or Yejett any settienient offer. Whea a settlement atfer is presented te Ctlent Cilect mast

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frit pey American Deist Sérviers Fee. The remainder of tha hornp sute will be wtiized ia settitag Client's upresalved program debt

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THE ISSUES BELOW: CLIENT UNDERSTANDS

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RR tree Se oet see?

(bh) Client is exrolting into 2 debt evttiersent program after voiuatarily secking asiinteace of Ameriean Debt Services CHirnt ix set te negotiate

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Cliem has available to pay shea pettlament, and (d) the willingness of Individual credlies to crv into the dubt cegotlations and gattle anconinds.

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biwsulty ins Indgenenty by the enarts..

(e) The Client Credieor Worksheot used in sewing up program fee and kongth'is based upon an cotintated progrwn sabtemart of 40 pereent. The ase of
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(g) Tha gerfirrmance of the Service will Htly lave ni adverte etRect on Cfhait's ¢redit ruting and Amerters Debt Sorvices y vot reapontibie fer
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(h} The Service does not ineleds the modification, correction oF improvement of Client's credit reports. Amarlean Debt Services does not alfer
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G) In the event a creditor of debt coltector gonmos logal ramedies aysina Chest, neitfier thit Agreement nor the Service inchodas legal repersentebcn,
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(i)  Amertens Debt Services may retain fy Sey pcnsel reprcstt ness
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acerucd Interset, fate Fees, over-lhnk fies iad penalties. Ctloat balnnec way Inerease darhag the term of this Agrosnent.

7. Termination. Either party may terminate itils Agreemant opon’S days writer notice to thio offer natty,

(a) Amarieas Debt Services mury jramediately termiants thia Agreement if Cllent fully to timely retary documents, falls to timely reaper te
Acserlenn Debt Servers, frie to tet aride money in accohdncee with the Fead Transfer Setedtule or Pails to pay & Service Fee when due., There is 2
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% —_Indemyaity. Client agrees (o Indeamify aad desend American Debt Services for say Mobility at clalins arising out af ihe Agreeruent of the

A Arbitration /Stxtite of Liritations, Alt diiputes or cline between the parties reluted tr thie Agrecatant shall be sabwsitted ta binding
arbitration in accordance with the raleg of Americas Arbitration Ainscintion. Any irblerstion proceedings Browgit by Clens shail take pleee to
Orange County, Caitirais. Jndrment pet the decision of the arbitrator iay be entered into any cynrd Ravbug jurisdiction: Amurican Debt
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However, sil other expepses af the arbitration shall he borne equally by tha parties and each party is respousibte for thetr owy-otterncy fer. ane
costs. Auy clains bromght pirrruant to cig Agreement miert ba fled within onc (2) year from the date claim ar akpute.

10, Choice of Jaw, The laws of tha sata of California will govern this Agreament without tigard to-the cetifltct of taw provisions hemor,

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any proposal, prise agfsbient; ars! or writin, ani any other communicuslogs rclating to the actifuatsent of debt,

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12. Notice of CaneeBation, Client may cance! thls tgreament withont penslty or obligation at any time before midatght of the ANN business afte
have signed the agnecment. In order to cancel, you most provide timely written nities to conmany, Say afer ys

L3. Amendertnt, This Agreement may not bo dhanged, amended, heritinated, teecinded or discharged, excopt by w wilting executed by the partes hereto,
excopf as provided in Paragraph 3 above saleting to NSE*s and reschednles, atid bo wajver of any of the provisions ar conditions of this Agrestrant or way

of the rights of a panty here ‘shall be effete oy binding ideas such waiver chall be in writing and signed by th party claimed ty hava giver waiver.
(s) Severability. If nny of the shove provieions ase held tm be itvalid or unenfutccabie, the remelaing provistons will not be afthated,

14, TéCTienmt’s credftor setties Clont's debt before it ia changed off for $600 or mora than Client owed, the savings may be reported by
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infortnation on tex remifirations to CHent personally you may alse wists to consult a CPA or Tex Attomey end te refer tiy the IRS! website
wwrerustread irt.gow IRS Publication 908- “Bankruptcy Tix Guide” and IRS Form 982, Reduction of Tux Attributes Dus to Discharge of
Indebtness available on the IRS website,

JS Limitution sad Cuciaslon of Damages, NEITHER PARTY SHALL BE LIABLE TO THS OTHER PARTY FOR INCIDENTAL. SPECIAL,
INDIREAST, EXEMPLARY, OR CONSEQUENTIAL DAMAGES ARISING FROM THIf AGREEMENT OR THE PROVISION OF THE
SERVICE, EVEN I¥ A PARTY HAS BEEN NOTIFIED OF THE POSSIBILITY OF SUCH DAMAGES. THE PARTIES ACKNOWLEDGE
THAT THR OTHER PORTIONS OF THIS AGREEMENT HAVE BEEN MADE IN' RELIANCE OF THIS SELECTION.

Client Name (Print): = Heather L, CHeat Sigsatures | Hatta 2, Plontton

Newton La, Ducutigned Hy: Hapttiee L. Nedra]
Wiates 8/24/2009
Co-Clicot Name (Print): Co-Citeat
Sighatare:
Date: 3/24/2009
